Case 2:03-CV-02876-SHI\/|-tmp Document 41 Filed 08/23/05 Page 1 of 2 Page|D 56

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IN THE UNITED STATES DISTRICT COURT

FOR THE wEsTERN DISTRICT oF TENNESSEE 25
WESTERN DIvIsIoN 95 AUG 23 A 6. 2

 

_WM°S-M.-GQU£D-
PAMELA ANN DOTSON, W/D%-S~ D?SPHDHSS
Plaintiff,
vS_ No. 03-2876~Map

AT&T WIRELESS, ET AL.,

Defendants.

 

ORDER ALLOWING EXCESS PAGES

 

Before the court is the August 18, 2005, motion by plaintiff
for permission to file a response in opposition to defendant
AT&T's motion for summary judgment Which is in excess of the Rule
7.2(e) page limitation. The clerk of court filed the plaintiff's
response to defendant's motion for summary judgment on August 18,
2005. The motion to exceed page limitation is therefore denied
as moot.

so oRDERED this 17"& day of August, 2005.

<Q¢(//M/L._

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Titis document entered on the docket sheet in com I' nce
with Fiute 5& and/or 79(3) FRCP on _ _Lg.(£_§' ` ; ¢//

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:03-CV-02876 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

